           Case 2:13-cr-00052-GMN-GWF            Document 88       Filed 05/01/14      Page 1 of 4




 1

 2

 3

 4

 5

 6                                  UNITED STATES DISTRICT COURT

 7                                         DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                            )
                                                        )
 9                          Plaintiff,                  )
                                                        )
10           v.                                         ) 2:13-CR-052-GMN-(GWF)
                                                        )
11 JOSE RIOS,                                           )
                                                        )
12                          Defendant.                  )
13                               PRELIMINARY ORDER OF FORFEITURE

14            This Court finds that on April 22, 2014, defendant JOSE RIOS pled guilty to Count One of a

15 Ten-Count Criminal Indictment charging him in Count One with Conspiracy to Distribute a Controlled

16 Substance in violation of Title 21, United States Code, Sections 841(a)(1) and 846. Criminal
                                                  85; Plea Agreement, ECF No. __.
17 Indictment, ECF No. 1; Change of Plea, ECF No. __;                         87.

18            This Court finds defendant JOSE RIOS agreed to the forfeiture of the property set forth in the

19 Plea Agreement and the Forfeiture Allegation of the Criminal Indictment. Criminal Indictment, ECF

20 No. 1; Change of Plea, ECF No. __;
                                  85; Plea Agreement, ECF No. __.
                                                              87.

21            This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of America

22 has shown the requisite nexus between property set forth in the Plea Agreement and the Forfeiture

23 Allegation of the Criminal Indictment and the offense to which defendant JOSE RIOS pled guilty.

24            The following assets are subject to forfeiture pursuant to Title 21, United States Code, Section

25 853(a)(1):

26 . . .
         Case 2:13-cr-00052-GMN-GWF              Document 88        Filed 05/01/14      Page 2 of 4




 1                  1. $500.00 in United States Currency seized from 5450 E. Lake Mead Boulevard, Apt.

 2                       #222, Las Vegas, NV;

 3                  2.   $1,893.00 in United States Currency seized from 2022 Castleberry Lane, Apt. D,

 4                       Las Vegas, NV;

 5                  3. $8,250.00 in United States Currency seized from 2022 Castleberry Lane, Apt. B,

 6                       Las Vegas, NV;

 7                  4. Hi Point 9mm semi-automatic handgun bearing serial number P096586 seized from

 8                       5450 E. Lake Mead Boulevard, Apt #222, Las Vegas, NV; and

 9                  5. any and all ammunition

10 (all of which constitutes “property”).

11           This Court finds the United States of America is now entitled to, and should, reduce the

12 aforementioned property to the possession of the United States of America.
13           NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

14 United States of America should seize the aforementioned property.

15           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

16 JOSE RIOS in the aforementioned property is forfeited and is vested in the United States of America

17 and shall be safely held by the United States of America until further order of the Court.

18          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

19 shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

20 website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state the

21 time under the applicable statute when a petition contesting the forfeiture must be filed, and state the

22 name and contact information for the government attorney to be served with the petition, pursuant to

23 Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

24          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual or entity

25 who claims an interest in the aforementioned property must file a petition for a hearing to adjudicate

26 the validity of the petitioner’s alleged interest in the property, which petition shall be signed by the

                                                         2
         Case 2:13-cr-00052-GMN-GWF               Document 88        Filed 05/01/14      Page 3 of 4




 1 petitioner under penalty of perjury pursuant to Title 21, United States Code, Section 853(n)(3) and

 2 Title 28, United States Code, Section 1746, and shall set forth the nature and extent of the petitioner’s

 3 right, title, or interest in the forfeited property and any additional facts supporting the petitioner’s

 4 petition and the relief sought.

 5          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed

 6 with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101, no later than

 7 thirty (30) days after the notice is sent or, if direct notice was not sent, no later than sixty (60) days

 8 after the first day of the publication on the official internet government forfeiture site,

 9 www.forfeiture.gov.

10          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

11 shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

12 following address at the time of filing:
13                  Michael A. Humphreys
                    Assistant United States Attorney
14                  Daniel D. Hollingsworth
                    Assistant United States Attorney
15                  Lloyd D. George United States Courthouse
                    333 Las Vegas Boulevard South, Suite 5000
16                  Las Vegas, Nevada 89101.
17          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

18 need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

19 following publication of notice of seizure and intent to administratively forfeit the above-described

20 property.

21          DATEDthis
            DATED this___
                       1stday
                           dayofof____________,
                                   May, 2014. 2014.

22

23                                                            ________________________________
                                                               Gloria M. Navarro, Chief Judge
24                                                             United States District Court
                                                    UNITED STATES DISTRICT JUDGE
25

26

                                                          3
         Case 2:13-cr-00052-GMN-GWF             Document 88       Filed 05/01/14     Page 4 of 4




 1                                           PROOF OF SERVICE
 2
            I, Ray Southwick, Forfeiture Support Associates Paralegal, certify that the following
 3
     individuals were served with copies of the Preliminary Order of Forfeiture on April 22, 2014, by the
 4
     below identified method of service:
 5
            CM/ECF
 6
            Benjamin C. Durham
 7          601 S. 10th St.
            Las Vegas, NV 89101
 8          bdurham@vegasdefense.com
            Attorney for Jose Rios
 9
            Chris T. Rasmussen
10          Rasmussen & Kang LLC
            330 S. Third St., Ste. 1010
11          Las Vegas, NV 8910
            chris@rasmussenkang.com
12          Attorney for Miguel Ruiz
13          Osvaldo E. Fumo
            Osvaldo E. Fumo, Chtd.
14          1212 Casino Center Boulevard
            Las Vegas, NV 89104
15          ozzie@fumolaw.com
            Attorney for Michael Doerflein
16
            Stephen Stein
17          Stein & Rojas
            520 S. Fourth St.
18          Las Vegas, NV 89101
            stephensteinesq@yahoo.com
19          Attorney for Paul Zappulla
20

21                                         /s/ Ray Southwick
                                           Ray Southwick
22                                         Forfeiture Support Associates Paralegal
23

24

25

26

                                                        4
